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                                  EXHIBIT D
                                Proposed Order




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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

    In re:
                                                                  PROMESA
    THE FINANCIAL OVERSIGHT AND
                                                                  Title III
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                                  No. 17 BK 3283-LTS
             as representative of                                 (Jointly Administered)
    THE COMMONWEALTH OF PUERTO RICO, et al.,
                                                                  This filing relates to the
                                    Debtors.1                     Commonwealth.

       ORDER GRANTING THREE HUNDRED THIRTY-SIXTH OMNIBUS OBJECTION
      (SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO TO CLAIMS FOR
                  WHICH THE COMMONWEALTH IS NOT LIABLE

                   Upon the Three Hundred Thirty-Sixth Omnibus Objection (Substantive) of the

Commonwealth of Puerto Rico to Claims for Which the Commonwealth is Not Liable (the “Three

Hundred Thirty-Sixth Omnibus Objection”), 2 filed by the Commonwealth of Puerto Rico (the

“Commonwealth”), dated June 18, 2021, for entry of an order disallowing in their entirety certain

claims filed against the Commonwealth, as more fully set forth in the Three Hundred Thirty-Sixth

Omnibus Objection and supporting exhibits thereto; and the Court having jurisdiction to consider

the Three Hundred Thirty-Sixth Omnibus Objection and to grant the relief requested therein

pursuant to PROMESA section 306(a); and venue being proper pursuant to PROMESA section


1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the
(i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK 3283-
LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
(“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
(iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK
3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-
LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
(“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747);
and (vi) Puerto Rico Public Buildings Authority (“PBA”, and together with the Commonwealth,
COFINA, HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last
Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case numbers
due to software limitations).
2
 Capitalized terms not otherwise defined herein shall have the meanings given to such terms in the
Three Hundred Thirty-Sixth Omnibus Objection.
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307(a); and due and proper notice of the Three Hundred Thirty-Sixth Omnibus Objection having

been provided to those parties identified therein, and no other or further notice being required; and

each of the claims identified in Exhibit A to the Three Hundred Thirty-Sixth Omnibus Objection

(collectively, the “Deficient Claims”) having been found to be deficient; and the Court having

determined that the relief sought in the Three Hundred Thirty-Sixth Omnibus Objection is in the

best interests of the Commonwealth, its creditors, and all parties in interest; and the Court having

determined that the legal and factual bases set forth in the Three Hundred Thirty-Sixth Omnibus

Objection establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor, it is hereby

                ORDERED that the Three Hundred Thirty-Sixth Omnibus Objection is GRANTED

as set forth herein; and it is further

                ORDERED that the Deficient Claims are hereby disallowed in their entirety; and it

is further

                ORDERED that Prime Clerk, LLC, is authorized and directed to delete the Deficient

Claims from the official claims registry in the Title III Cases; and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.

                SO ORDERED.

Dated:


                                               Honorable Judge Laura Taylor Swain
                                               United States District Judge




                                                   2
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                                 ANEXO D
                               Orden propuesta




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                     TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                          PARA EL DISTRITO DE PUERTO RICO

    In re:
                                                                   PROMESA
    JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
                                                                   Título III
    FINANCIERA PARA PUERTO RICO,                                   núm. 17 BK 3283-LTS
             como representante del                                (Administrado Conjuntamente)
    ESTADO LIBRE ASOCIADO DE PUERTO RICO et
                                                                   La presente radicación guarda
    al.,
                                                                   relación con el ELA.
                                   Deudores.1

       ORDEN POR LA QUE SE CONCEDE LA TRICENTÉSIMA TRIGÉSIMA SEXTA
     OBJECIÓN GLOBAL (SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO
          RICO A RECLAMACIONES POR LAS QUE ELA NO ES RESPONSABLE

                   Vista la Tricentésima trigésima sexta objeción global (sustantiva) del Estado Libre

Asociado de Puerto Rico a Reclamaciones por las que el ELA no es responsable (la "Tricentésima

trigésima sexta objeción global") 2 radicada por el Estado Libre Asociado de Puerto Rico (el

"ELA"), de fecha 18 de junio de 2021, para que se dicte una orden que rechace en su totalidad

determinadas reclamaciones radicadas contra el ELA, según se establece con más detalle en la

propia Tricentésima trigésima sexta objeción global y en los anexos justificativos de la misma; y al


1
  Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de cada
Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de Quiebra
Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva federal: 3481); ii)
la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA") (Caso de Quiebra
Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación contributiva federal: 8474);
iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT") (Caso de Quiebra Núm.
17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación contributiva federal: 3808); iv) el
Sistema de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el
"SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos cuatro dígitos de la identificación
contributiva federal: 9686); v) la Autoridad de Energía Eléctrica de Puerto Rico (la "AEE") (Caso
de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro dígitos de la identificación contributiva
federal: 3747); y vi) la Autoridad de Edificios Públicos de Puerto Rico (la "AEP", y junto con el
ELA, COFINA, la ACT, el SRE y la AEE, los "Deudores") (Caso de Quiebra Núm. 19-BK-5523-
LTS) (Últimos cuatro dígitos de la identificación contributiva federal: 3801) (Los números de los
casos de Título III están enumerados como números de casos de quiebra debido a ciertas
limitaciones en el programa informático).
2
  Los términos con mayúscula que no estén definidos en el presente documento tendrán el
significado que les haya sido atribuido en la Tricentésima trigésima sexta objeción global.
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tener el Tribunal jurisdicción para atender la Tricentésima trigésima sexta objeción global y para

conceder el remedio en ella solicitado conforme a PROMESA, sección 306(a); y siendo la sede

judicial competente conforme a PROMESA, sección 307(a); y habiéndose efectuado, en tiempo y

forma, la notificación de la Tricentésima trigésima sexta objeción global a aquellas partes que en

ella se identifican, sin ser necesario efectuar ninguna otra notificación; y habiéndose concluido que

las reclamaciones identificadas en el Anexo A de la Tricentésima trigésima sexta objeción global

(conjuntamente, las "Reclamaciones Deficientes") son deficientes; y habiendo determinado el

Tribunal que el remedio solicitado en la Tricentésima trigésima sexta objeción global redunda en

el mejor interés del ELA, de sus acreedores, así como de la totalidad de las partes interesadas; y

habiendo determinado el Tribunal que las bases de hecho y de derecho establecidas en la

Tricentésima trigésima sexta objeción global establecen una causa justificada para el remedio aquí

concedido; y tras la debida deliberación y concurriendo suficientes motivos para ello, por medio de

la presente,

               SE ORDENA que SE CONCEDA la Tricentésima trigésima sexta objeción global,

según se establece en el presente documento; además

               SE ORDENA que se rechacen en su totalidad las Reclamaciones Deficientes;

asimismo

               SE ORDENA que Prime Clerk, LLC quede autorizada, y reciba instrucciones, para

eliminar las Reclamaciones Deficientes del registro oficial de reclamaciones en el marco de los

Casos de Título III; y por último

               SE ORDENA que este Tribunal conserve jurisdicción para atender y resolver la

totalidad de las materias que surjan de, o en relación con, la implementación, interpretación o

ejecución de la presente Orden.

               ASÍ SE ESTABLECE.



                                                 2
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Fecha:


                                   Su señoría, la juez Laura Taylor Swain
                                   Juez de Distrito de los Estados Unidos (United
                                   States District Judge)




                                      3
